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 1                         UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
 2

 3   UNITED STATES OF AMERICA,        )
                                      )
 4        v.                          )   Criminal No. 17-232
                                      )
 5   MICHAEL T. FLYNN,                )
                                      )   Washington, D.C.
 6              Defendant.            )   Friday, December 1, 2017
     ___________________________
 7
                        TRANSCRIPT OF PLEA HEARING
 8                BEFORE THE HONORABLE RUDOLPH CONTRERAS
                       UNITED STATES DISTRICT JUDGE
 9
                 APPEARANCES:
10

11       For the Government:         Brandon Lang Van Grack, Esq.
                                     Zainab N. Ahmad, Esq.
12                                   U.S. DEPARTMENT OF JUSTICE
                                     Special Counsel's Office
13                                   950 Pennsylvania Avenue, NW
                                     Washington, DC 20004
14
        For the Defendant:           Robert K. Kelner, Esq.
15                                   COVINGTON & BURLING
                                     1201 Pennsylvania Avenue, NW
16                                   Washington, DC 20004
                                        -and-
17                                   Stephen Pierce Anthony
                                     COVINGTON & BURLING LLP
18                                   One City Center
                                     850 Tenth Street, NW
19                                   Suite 326N
                                     Washington, DC 20001
20
        Also Present:           Special Agent William Barnett
21

22      Court Reporter:        PATRICIA KANESHIRO-MILLER, RMR, CRR
                               United States Courthouse
23                             333 Constitution Avenue, NW
                               Washington, D.C. 20001
24

25      Proceedings reported by stenotype shorthand.
        Transcript produced by computer-aided transcription.
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 1                             P R O C E E D I N G S

 2                                  (10:34 a.m.)

 3               THE DEPUTY CLERK:     This is Criminal Case 17-232,

 4     United States v. Michael T. Flynn.

 5               Counsel, please step forward to the podium and state

 6     your appearances for the record.

 7               MR. VAN GRACK:     Good morning, Your Honor.         Brandon

 8     Van Grack and Zainab Ahmad on behalf of the United States.

 9               THE COURT:    Good morning.

10               MR. VAN GRACK:     And with us at counsel table is

11     Special Agent William Barnett.

12               THE COURT:    Good morning.

13               MR. KELNER:    Good morning, Your Honor.       Robert Kelner

14     with Covington & Burling for the defendant, Michael T. Flynn.

15     I'm joined by Stephen Anthony from Covington & Burling.

16               THE COURT:    Good morning.

17               Give me a moment to look at the paperwork.

18               (Pause)

19               THE COURT:    Are we ready to get started?

20               MR. KELNER:    Yes, Your Honor.

21               MR. VAN GRACK:     Yes, Your Honor.

22               THE COURT:    Why don't you guys come to the podium.

23               I gather that Mr. Flynn wishes to enter a plea of

24     guilty; is that correct?

25               MR. KELNER:    Yes, Your Honor.
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                                                                      3

 1               THE COURT:    Okay.   Mr. Flynn, I assume you have never

 2     been through this process before.

 3               THE DEFENDANT:     Never, Your Honor.

 4               THE COURT:    Let me give you the most important

 5     particulars of how we are going to proceed.

 6               There are going to be a number of questions.         As part

 7     of this process, you're going to be giving up a number of

 8     your rights, both statutory and constitutional, so it is

 9     critical that you understand everything that goes on here

10     because I have to determine at the end whether you have given

11     up those rights knowingly, voluntarily, and with the advice

12     of your counsel.

13               If there is anything I ask you that you don't

14     understand, feel free to ask me to clarify it or, better yet,

15     take a moment to discuss the issue with your counsel in

16     private, if necessary.

17               You got that?

18               THE DEFENDANT:     Thank you.

19               THE COURT:    Okay.   We're going to swear you in.

20                    (Defendant sworn)

21               THE DEPUTY CLERK:     Can you please state your name for

22     the record.

23               THE DEFENDANT:     Michael Thomas Flynn.

24               THE COURT:    Mr. Flynn, do you understand that you're

25     now under oath?
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 1               THE DEFENDANT:     Yes, Your Honor.

 2               THE COURT:    And that any answers that you give can be

 3     later used against you in this or another proceeding?          Do you

 4     understand that?

 5               THE DEFENDANT:     Yes.

 6               THE COURT:    And that if you do not answer my

 7     questions truthfully, you could be prosecuted for perjury or

 8     making a false statement?       Do you understand that?

 9               THE DEFENDANT:     Yes.

10               THE COURT:    As I said, I'm going to ask you a number

11     of questions.     If you choose to enter a plea of guilty today,

12     I need to know that you're entering that plea of guilty

13     knowingly, voluntarily, and intelligently, with the advice of

14     your attorney.

15               As I said, if you don't understand my question or

16     anything else about these proceedings, please tell me, and I

17     will try to explain.      But most importantly, you may consult

18     with your attorney privately, if necessary, at any point in

19     time.

20               I'm going to start with the routine questions.           How

21     old are you, sir?

22               THE DEFENDANT:     58.

23               THE COURT:    I assume you can read and write English.

24               THE DEFENDANT:     Yes.

25               THE COURT:    How far did you go in school?
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 1                THE DEFENDANT:    Master's level.

 2                THE COURT:    Okay.   And I assume you were born in this

 3     country.

 4                THE DEFENDANT:    Yes.

 5                THE COURT:    All right.   Have you ever been treated

 6     for any type of mental illness or psychological or emotional

 7     problem?

 8                THE DEFENDANT:    No.

 9                THE COURT:    All right.   Have you ever been treated

10     for addiction to narcotic drugs or alcohol?

11                THE DEFENDANT:    No.

12                THE COURT:    Are you, in fact, addicted to narcotic

13     drugs or alcohol?

14                THE DEFENDANT:    No.

15                THE COURT:    Are you under the influence today of any

16     medicine or other narcotic that might impact your ability to

17     understand what's going on here today?

18                THE DEFENDANT:    No, Your Honor.

19                THE COURT:    Are you ill in any way that might impact

20     your ability to understand what's going on here today?

21                THE DEFENDANT:    I'm not.

22                THE COURT:    Does defense counsel have any question

23     whatsoever as to the defendant's competency to pled at this

24     time?

25                MR. KELNER:   No, Your Honor.
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 1               MR. ANTHONY:     No, Your Honor.

 2               THE COURT:    Mr. Flynn, have you had sufficient time

 3     to consult with your attorneys about this case?

 4               THE DEFENDANT:     I have.

 5               THE COURT:    Are you satisfied with the services that

 6     they have provided you?

 7               THE DEFENDANT:     Yes.

 8               THE COURT:    Have you had the opportunity to discuss

 9     with them the charge against you and whether or not you

10     should enter a plea of guilty?

11               THE DEFENDANT:     I have.

12               THE COURT:    Counsel, have you had sufficient time to

13     review and investigate the law and the facts of this case?

14               MR. KELNER:    Yes, Your Honor.

15               THE COURT:    In your opinion, does the defendant

16     understand the nature of the charge pending against him?

17               MR. KELNER:    Yes, Your Honor.

18               THE COURT:    Do you believe that he is mentally

19     competent to enter this plea?

20               MR. KELNER:    Yes, Your Honor.

21               THE COURT:    Mr. Flynn, as I mentioned earlier, before

22     I accept your plea, I need to explain to you certain rights.

23     You have to make sure that you understand them because you're

24     going to be waiving a significant number of them.

25               THE DEFENDANT:     Uh-huh.
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 1               THE COURT:    Please listen closely.      Be patient

 2     because it is going to take a little bit of time.              And again,

 3     let me know if you do not understand anything.          And finally,

 4     again, at any point in time, if you need to consult with your

 5     attorneys, please take the time to do that.

 6               Do you understand that the charge against you is a

 7     felony charge?

 8               THE DEFENDANT:     I do.

 9               THE COURT:    Because it is a felony charge, you have a

10     constitutional right to have the members of a grand jury

11     indict and charge you with that felony.         A federal grand jury

12     is composed of at least 16 and not more than 23 citizens of

13     the District of Columbia.       In order to charge you, at least

14     12 of them must find that there is probable cause to believe

15     that a crime has been committed and that you were the person

16     that committed that crime.       And if they charged you, they

17     would list the charges in a written indictment.          If you do

18     not give up your right to be charged by grand jury

19     indictment, the government cannot file felony charges against

20     you on its own.

21               Do you understand that?

22               THE DEFENDANT:     Yes.

23               THE COURT:    In this case, the felony charges against

24     you have been brought by the Special Counsel's Office by the

25     filing of an Information.
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                                                                         8

 1               If you do not give up your right to be charged by

 2     grand jury indictment, the government may present the case to

 3     the grand jury and ask them to indict you, and a grand jury

 4     might indict you, but then there is always the possibility

 5     that they won't.

 6               Do you understand that?

 7               THE DEFENDANT:     I do.

 8               THE COURT:    Okay.   If you do give up your right to be

 9     charged by a grand jury in an indictment, the case will

10     proceed against you on the Special Counsel's Office

11     Information, just as though you had been indicted.             Do you

12     understand that?

13               THE DEFENDANT:     Yes.

14               THE COURT:    Mr. Flynn, do you understand your right

15     to indictment by a grand jury?

16               THE DEFENDANT:     Yes.

17               THE COURT:    Have you discussed giving up your right

18     to indictment by the grand jury with your attorneys?

19               THE DEFENDANT:     I have.

20               THE COURT:    Have any threats or promises other than

21     the promises made in the plea agreement been made to you to

22     induce you to give up your right to the indictment?

23               THE DEFENDANT:     No.

24               THE COURT:    I gather there's a written waiver.            Let

25     me get that in front of me.
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 1               Could you just confirm that that is your signature on

 2     that document?

 3               Is that a "yes"?

 4               THE DEFENDANT:     Yes.

 5               THE COURT:    Okay.   The signature on that document

 6     waiving your right to a grand jury, it's yours; correct?

 7               THE DEFENDANT:     Yes.

 8               THE COURT:    Counsel, is there any reason the

 9     defendant should not waive his right to a grand jury?

10               MR. KELNER:    No.

11               THE COURT:    I find that the waiver of indictment by

12     grand jury is knowingly and voluntarily made, and it is

13     accepted, and the signed waiver will be filed.

14               Mr. Flynn, you have the right to plead not guilty to

15     any offense charged against you.        Do you understand that?

16               THE DEFENDANT:     Yes.

17               THE COURT:    You would have the right to challenge the

18     government's case against you by seeking to have the charges

19     dismissed or having the evidence against you suppressed or

20     thrown out.    Do you understand you would have that right if

21     you did not waive them?

22               THE DEFENDANT:     Yes.

23               THE COURT:    All right.    Under the Constitution and

24     the laws of the United States, you have the right to a jury

25     trial in this case.      That means that 12 citizens of the
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 1      District of Columbia would sit as the jury and determine

 2      whether you are guilty or not guilty based upon evidence

 3      presented in this courtroom.

 4                Do you understand your right to a jury trial?

 5                THE DEFENDANT:    I do, Your Honor.

 6                THE COURT:    If you choose to go to trial, you would

 7      have a right to be represented by your attorneys at that

 8      trial.   Do you understand that?

 9                THE DEFENDANT:    I do.

10                THE COURT:    At a trial, you would have the right

11      through your lawyers to confront and cross-examine any

12      witnesses against you.      Do you understand that?

13                THE DEFENDANT:    Yes.

14                THE COURT:    You would also have the right to present

15      your own witnesses, and you would have the right to subpoena

16      them to require them to testify in your defense at trial.           Do

17      you understand that?

18                THE DEFENDANT:    Yes.

19                THE COURT:    At a trial you would have the right to

20      testify yourself and to present evidence on your behalf if

21      you wanted to, but you would not have to testify or present

22      any evidence if you did not want to because you cannot be

23      forced to incriminate yourself, that is, to present evidence

24      of your own guilt.     Do you understand that?

25                THE DEFENDANT:    Yes.
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 1                THE COURT:    If you chose not to testify or to put on

 2      any evidence at a trial, those choices could not be used

 3      against you to infer or suggest your guilt.         Do you

 4      understand that?

 5                THE DEFENDANT:    Yes.

 6                THE COURT:    Unless and until I accept your guilty

 7      plea, if you choose to enter one today, you are presumed by

 8      the law to be innocent because it is the government's burden

 9      through competent evidence to prove your guilt beyond a

10      reasonable doubt, and until it does, you cannot be convicted

11      at trial.    Do you understand that?

12                THE DEFENDANT:    Yes.

13                THE COURT:    If you went to trial and you were

14      convicted, you would have the right to appeal your conviction

15      to the Court of Appeals and to have a lawyer help you prepare

16      that appeal.    Do you understand that?

17                THE DEFENDANT:    Yes.

18                THE COURT:    Do you understand that by pleading

19      guilty, you will be generally giving up your rights to

20      appeal?   Do you understand that?

21                THE DEFENDANT:    Yes.

22                THE COURT:    Now, to summarize, do you understand that

23      if you plead guilty in this case and I accept your guilty

24      plea, you will give up all the rights I just explained to you

25      because there will not be any trial and there will probably
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 1      be no appeal and you will waive your right not to incriminate

 2      yourself, because in order for me to accept your plea, you

 3      have to admit your guilt.      Do you understand that?

 4                THE DEFENDANT:    I do.

 5                THE COURT:    Mr. Flynn, do you wish to give up your

 6      rights to a trial, your right to an appeal in most

 7      circumstances, and all of the rights I have explained that

 8      you have if your case went to trial?        Do you wish to do that?

 9                THE DEFENDANT:    Yes.

10                THE COURT:    All right.    And there is a signed waiver

11      of trial by jury.      If you could confirm that that is your

12      signature on that page.

13                It is?

14                THE DEFENDANT:    Yes.

15                THE COURT:    Counsel, is there any reason the

16      defendant should not waive a jury trial and his right against

17      self-incrimination as to the charge to which a plea of guilty

18      will be made?

19                MR. KELNER:    No, Your Honor.

20                MR. VAN GRACK:    No, Your Honor.

21                THE COURT:    I find that the waiver is knowingly and

22      voluntarily made, and it is accepted, and the signed waiver

23      will be filed, as well.

24                Mr. Flynn, have you and your attorney received a copy

25      of the Information in this case, which contains the written
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 1      charges against you?

 2                THE DEFENDANT:    Yes.

 3                THE COURT:    Have you read that document and has your

 4      lawyer explained it to you, the charges contained therein?

 5                THE DEFENDANT:    Yes.

 6                THE COURT:    Have you had the opportunity to discuss

 7      the charges and the case in general fully with your

 8      attorneys?

 9                THE DEFENDANT:    I have.

10                THE COURT:    You understand that the Information

11      charges you with the offense of making false statements in a

12      matter within the jurisdiction of the Executive Branch of the

13      Government of the United States, in violation of

14      18 U.S.C. § 1001?      Do you understand that?

15                THE DEFENDANT:    Yes.

16                THE COURT:    Before I accept your guilty plea, I must

17      make a determination that there's a factual basis for that

18      plea.

19                I'm going to have the government come up and make a

20      presentation as to what it believes it can prove beyond a

21      reasonable doubt at trial.      I know that there is a written

22      signed statement of offense, as well.        So if you can just

23      confirm that that is your signature on page 6 of that

24      document.

25                It is?
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 1                 THE DEFENDANT:   It is.

 2                 THE COURT:   The government's presentation is going to

 3      largely duplicate that, but I still need you to listen

 4      closely, and at the end of it, if you disagree with anything

 5      they have said -- I will give you another opportunity to

 6      disagree with anything in the written document -- you need to

 7      tell me.    So please listen carefully, okay?

 8                 THE DEFENDANT:   Yes.

 9                 THE COURT:   Go ahead and have a seat.

10                 Let me hear from the government.      Why don't you start

11      with the elements of the charges.

12                 MR. VAN GRACK:   Your Honor, the elements for

13      violating 18 U.S.C. § 1001 are that the defendant made a

14      false statement that was material, the defendant acted

15      knowingly and willfully, and the statement pertained to a

16      matter within the jurisdiction of the Executive Branch of the

17      United States Government.

18                 THE COURT:   Why don't you go through the facts that

19      you think you can prove at trial.

20                 MR. VAN GRACK:   That the defendant made material

21      false statements and omissions during an interview with the

22      Federal Bureau of Investigation on January 24, 2017, in

23      Washington, D.C.

24                 At the time of the interview, the FBI had an open

25      investigation into Russia's efforts to interfere in the 2016
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 1      presidential election, including the nature of any links or

 2      coordination between individuals associated with Russia and

 3      the campaign of President Donald Trump.

 4      Specifically, during that January 24th interview, the

 5      defendant falsely stated that he did not ask Russia's

 6      Ambassador to the United States to refrain from escalating

 7      the situation in response to sanctions that the United States

 8      had imposed against Russia.       The defendant also falsely

 9      stated that he did not remember a follow-up conversation in

10      which the Russian Ambassador stated that Russia had chosen to

11      moderate its response to those sanctions as a result of the

12      defendant's request.     In truth and in fact, the defendant

13      then and there knew that:

14                On or about December 29, 2016, the day sanctions

15      against Russia were announced, the defendant called a senior

16      official of the Presidential Transition Team, who was with

17      other senior members of the Presidential Transition Team at

18      the Mar-a-Lago resort, to discuss what to communicate to the

19      Russian Ambassador about sanctions.        On that call, the

20      defendant and the official discussed sanctions, including

21      that members of the transition team at Mar-a-Lago did not

22      want Russia to escalate the situation.

23                Immediately after that phone call, the defendant

24      called the Russian Ambassador and requested that Russia not

25      escalate the situation and only respond to the U.S. sanctions
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 1      in a reciprocal manner.

 2                Shortly after his phone call with the Russian

 3      Ambassador, the defendant spoke again with the senior

 4      official to report on the substance of his call with the

 5      Russian Ambassador, including their discussion of sanctions.

 6      Two days later, the Russian Ambassador called the defendant

 7      and informed him that Russia had chosen not to retaliate in

 8      response to the defendant's request.        After that phone call,

 9      the defendant spoke with senior members of the transition

10      team about his conversations with the Russian Ambassador

11      regarding sanctions and Russia's decision not to escalate the

12      situation.

13                During that same January 24th interview with the FBI,

14      the defendant made additional false statements about his

15      calls to Russia and other countries regarding a resolution

16      submitted to the United Nations Security Council on

17      December 24, 2016.     The defendant falsely stated that he only

18      asked the countries' positions on the resolution and that he

19      did not request that any of the countries take any particular

20      action on the resolution.      The defendant also falsely stated

21      that the Russian Ambassador never described to him Russia's

22      response to his request.      In truth and in fact, the defendant

23      then and there knew that:

24                On or about December 22, 2016, a very senior member

25      of the transition team directed the defendant to contact
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 1      officials from foreign governments, including Russia, to

 2      learn where each government stood on the resolution and to

 3      influence those governments to delay the vote or defeat the

 4      resolution.

 5                On or about December 26, 2016, the defendant

 6      contacted the Russian Ambassador about the pending vote.                 The

 7      defendant requested that Russia vote against or delay the

 8      resolution.

 9                The next day the defendant again spoke with the

10      Russian Ambassador, who informed him that if it came to a

11      vote, Russia would not vote against the resolution.

12                In addition, on March 7, 2017, the defendant filed

13      multiple documents with the Department of Justice pursuant to

14      the Foreign Agents Registration Act pertaining to a project

15      performed by him and his company for the principal benefit of

16      the Republic of Turkey.      In those filings, the defendant made

17      materially false statements and omissions, including by

18      falsely stating that his company did not know whether or the

19      extent to which the Republic of Turkey was involved in the

20      project; that the project was focused on improving U.S.

21      business organizations' confidence regarding doing business

22      in Turkey; and an op-ed by the defendant published on

23      November 8, 2016 was written at his own initiative.            In

24      addition, the defendant omitted in those filings that

25      officials from the Republic of Turkey provided supervision
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 1      and direction over the project.

 2                 THE COURT:   Thank you.

 3                 MR. VAN GRACK:   Your Honor, I want to correct two

 4      dates that I read:      That the resolution before the United

 5      States Security Council was submitted on December 24, 2016;

 6      and that the second call that the defendant made with the

 7      Russian Ambassador about that UN vote was on December 23rd.

 8                 THE COURT:   All right.    Thank you.

 9                 Mr. Flynn, if you could come back to the podium,

10      please.

11                 Are those dates correct in the written statement?

12                 MR. VAN GRACK:   Yes, they are, Your Honor.

13                 THE COURT:   So they don't need to be corrected there,

14      as well.

15                 MR. VAN GRACK:   No, Your Honor.

16                 THE COURT:   Okay.

17                 Mr. Flynn, now that you've read the written statement

18      of facts, you've heard the government's oral presentation,

19      are there any corrections or errors that you need to point

20      out?

21                 THE DEFENDANT:   Nothing that I heard, Your Honor, no.

22                 THE COURT:   Or that you read?

23                 THE DEFENDANT:   Or that I read.

24                 THE COURT:   Is that factual summary true and correct?

25                 THE DEFENDANT:   It is.
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 1                THE COURT:    Did you, in fact, do what the government

 2      has stated that it can prove at trial?

 3                THE DEFENDANT:    Yes.

 4                THE COURT:    Mr. Flynn, there is a written letter

 5      outlining the plea agreement in this case.         Do you have a

 6      copy of that agreement?

 7                THE DEFENDANT:    Yes.

 8                THE COURT:    Have you read it carefully?

 9                THE DEFENDANT:    Yes.

10                THE COURT:    Have you had the chance to discuss it

11      fully with your attorneys?

12                THE DEFENDANT:    I have.

13                THE COURT:    Do you understand it?

14                THE DEFENDANT:    I do.

15                THE COURT:    If you can confirm that that is your

16      signature on page 10 of that document.

17                It is?

18                THE DEFENDANT:    Yes.

19                THE COURT:    Okay.   By signing that agreement, are you

20      accepting and agreeing to the terms of the agreement?

21                THE DEFENDANT:    I am.

22                THE COURT:    Okay.   Is your willingness to plead

23      guilty here today the result of the discussions you had with

24      the government through your attorneys?

25                THE DEFENDANT:    Yes.
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 1                THE COURT:    Okay.   Does that written agreement

 2      represent the entire understanding you have with the

 3      government?

 4                THE DEFENDANT:    Yes, I believe it does.

 5                THE COURT:    Okay.   There are no side oral agreements?

 6                THE DEFENDANT:    None.

 7                THE COURT:    Does the government counsel agree that

 8      that is correct?

 9                MR. VAN GRACK:    Yes, Your Honor.

10                THE COURT:    Okay.   Does government counsel wish to

11      summarize it or file the written agreement and rely upon it?

12                MR. VAN GRACK:    File the written agreement and rely

13      on it.

14                THE COURT:    Okay.   We will go ahead and do that and

15      get that filed.

16                Mr. Flynn, as I understand it, you're proposing to

17      plead guilty to the offense of making false statements in a

18      matter within the jurisdiction of the Executive Branch of the

19      Government of the United States, in violation of

20      18 U.S.C. § 1001.

21                Do you understand that if I accept your guilty plea

22      in this case, you could receive a maximum sentence of

23      5 years' imprisonment.      Do you understand that?

24                THE DEFENDANT:    Yes.

25                THE COURT:    Do you also understand that I can impose
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 1      a fine of up to $250,000?

 2                 THE DEFENDANT:   I do.

 3                 THE COURT:   Do you also understand that I could

 4      impose a fine sufficient to pay the government the cost of

 5      any imprisonment, term of supervised release, or period of

 6      probation?

 7                 THE DEFENDANT:   Yes.

 8                 THE COURT:   Do you also understand that although no

 9      restitution issues have been brought to my attention that I

10      have an independent duty to determine whether any restitution

11      needs to be made if anyone has sustained a loss as a result

12      of your actions, and I would be required by law to impose

13      that amount of restitution?

14                 Do you understand that?

15                 THE DEFENDANT:   Yes.

16                 THE COURT:   Do you understand, also, that you would

17      be obligated to pay any applicable interest or penalties on

18      fines or restitution that are not timely made?          Do you

19      understand that?

20                 THE DEFENDANT:   I do.

21                 THE COURT:   Do you also understand that you would be

22      subject to a term of supervised release not to exceed

23      3 years?     Do you understand that?

24                 THE DEFENDANT:   Yes.

25                 THE COURT:   And what that means is that if you're
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                                                                          22

 1      sent to prison that upon your release you will be on

 2      supervision under certain circumstances and rules with which

 3      you must comply.     And if you violate those conditions and

 4      rules, you could be sent back to prison for an additional

 5      period of time.     Do you understand --

 6                THE DEFENDANT:    Yes.

 7                THE COURT:    -- how supervised release works?

 8                THE DEFENDANT:    Yes.

 9                THE COURT:    Do you also understand, although no prior

10      criminal history has been brought to my attention, that if

11      the probation office determines you have two or more

12      convictions for a crime of violence or felony drug offenses,

13      you may be subject to higher penalties provided in the career

14      offender statutes in the sentencing guidelines?          Do you

15      understand that?

16                THE DEFENDANT:    Yes.

17                THE COURT:    Do you also understand that you would be

18      subject to a special assessment of $100 for a felony offense,

19      as required by statute?      Do you understand that?

20                THE DEFENDANT:    I do, Your Honor.

21                THE COURT:    And again, although no forfeiture issues

22      have been brought to my attention, do you understand that if

23      they are applicable, the Court can require you to forfeit

24      certain property to the government?        Do you understand that?

25                THE DEFENDANT:    I do.
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 1                THE COURT:    Mr. Flynn, do you understand all of these

 2      possible consequences of your plea agreement?

 3                THE DEFENDANT:    Yes, Your Honor.

 4                THE COURT:    I'm going to review something with you

 5      that I'm sure your counsel has discussed with you, and that

 6      is the sentencing guidelines.

 7                This case falls within the Sentencing Reform Act of

 8      1984, by which Congress created the United States Sentencing

 9      Commission.    The Sentencing Commission has issued detailed

10      guidelines for judges such as myself to consider in

11      determining the sentence in a criminal case like this.         The

12      Commission has set sentencing ranges for specific offenses,

13      and those ranges are contained in the guidelines manual.

14      However, in light of Supreme Court decisions, the sentencing

15      guidelines are not mandatory, they are advisory, but they

16      must be consulted by the Court in the first instance in

17      determining the appropriate sentence.        Hence, I will assess

18      and determine the proper sentence in this case by reference

19      to and in consideration of the guidelines.         And while the

20      Court, prosecutor, your counsel, and even you have some idea

21      of what that guidelines range will be based on the charge and

22      based upon your prior criminal history, nothing will be

23      certain until the probation office conducts its investigation

24      and advises me what they believe the sentencing guideline

25      range is.
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 1                 Do you understand that process?

 2                 THE DEFENDANT:   I do.

 3                 THE COURT:   The probation office will create a

 4      presentence report that contains their conclusions as to what

 5      the range is.    That report will come to me, and it would also

 6      go to both sets of attorneys, and all of you will have a

 7      chance to make objections to portions of it or request

 8      changes.    Your attorney will go over it with you, and then at

 9      the time of the sentencing I will hear from both sets of

10      attorneys, and it is only then that I will make a

11      determination what your advisory sentence and guidelines

12      range is.

13                 Do you understand that?

14                 THE DEFENDANT:   Yes.

15                 THE COURT:   Once I do that in accordance with the

16      sentencing guidelines, I'm still permitted, however, to

17      impose a sentence outside of that range, either above or

18      below that range.

19                 Do you understand that?

20                 THE DEFENDANT:   Yes, Your Honor.

21                 THE COURT:   However, I cannot sentence you to more

22      than the statutory period which I explained a little earlier.

23                 Have you and your attorney talked about the

24      sentencing guidelines and how they might apply to your case?

25                 THE DEFENDANT:   Yes, Your Honor.
     Case 1:17-cr-00232-EGS Document 16 Filed 01/16/18 Page 25 of 34

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 1                THE COURT:    Do you understand that I cannot determine

 2      what the sentence would be under the guidelines until I have

 3      received a presentence report from the probation office and

 4      the government and your attorneys have had the opportunity to

 5      challenge the facts reported by the probation officer?

 6                Do you understand that?

 7                THE DEFENDANT:    Yes, I understand that.

 8                THE COURT:    Do you understand that after I have

 9      decided what guidelines range applies in your case, I still

10      have the authority in my discretion to impose a sentence that

11      is more severe or less severe than the sentence called for by

12      the guidelines?     Do you understand that?

13                THE DEFENDANT:    I do, Your Honor.

14                THE COURT:    Do you also understand that parole has

15      been abolished for federal charges and that if you are

16      sentenced to prison that you will serve the sentence I

17      impose, with a possible modest reduction for good time

18      credit, but that you will not be released early on parole as

19      used to be the case?     Do you understand that?

20                THE DEFENDANT:    Yes.

21                THE COURT:    Do you also understand that the offense

22      to which you are proposing to plead guilty is a felony

23      offense; and that if your plea is accepted and you're found

24      guilty of that offense, then, depending upon the specific

25      circumstances and the jurisdiction in which you reside, such
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 1      a finding may deprive you of valuable civil rights, such as

 2      the right to vote, the right to hold public office, the right

 3      to serve on a jury, and the right to possess any kind of

 4      firearm?

 5                 Do you understand that?

 6                 THE DEFENDANT:   Yes, Your Honor.

 7                 THE COURT:   Do you also understand that under some

 8      circumstances, not only you, but also the government may have

 9      the right to appeal any sentence that I impose if the

10      government believes that the sentence is improper or

11      unlawful?    Do you understand that?

12                 THE DEFENDANT:   I do.

13                 THE COURT:   Do you understand that under this plea

14      agreement you are generally giving up your right to appeal

15      any conviction or sentence I impose?        Do you understand that?

16                 THE DEFENDANT:   Yes.

17                 THE COURT:   There's very limited exceptions to what

18      you can appeal in this matter.       Do you understand that?

19                 THE WITNESS:   Yes.

20                 THE COURT:   And you've specifically discussed with

21      your attorneys the waiver of the right-to-appeal rights?

22                 THE DEFENDANT:   Yes.

23                 THE COURT:   All right.    Do you understand that if the

24      proper guideline range that I determine is higher than you

25      expected, as I warn you it could be, or the sentence I impose
     Case 1:17-cr-00232-EGS Document 16 Filed 01/16/18 Page 27 of 34

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 1      is more severe than you expected -- again, I warn you it

 2      could be -- you will still be bound by your guilty plea and

 3      will have no right to withdraw it?        Do you understand that?

 4                THE DEFENDANT:    Yes.

 5                THE COURT:    Do you understand that if I do not accept

 6      any sentencing recommendations made in the plea agreement or

 7      made by the lawyers at the time of sentencing, you will still

 8      be bound by your guilty plea and will have no right to

 9      withdraw it?    Do you understand that?

10                THE DEFENDANT:    I do.

11                THE COURT:    The plea agreement includes an agreement

12      by you to cooperate with the United States and an agreement

13      by the U.S. to make a motion pursuant to Sentencing Guideline

14      5K1.1 if, but only if, the United States determines that you

15      have provided substantial assistance in the investigation or

16      prosecution of another person.

17                Do you understand that the decision whether that

18      motion under 5K is filed is within the sole discretion of the

19      United States, and neither you nor the Court can require the

20      government to file that motion?       Do you understand that?

21                THE DEFENDANT:    Yes.

22                THE COURT:    So if the government decides that your

23      cooperation is not enough to justify them filing that motion,

24      that is their call, it is not mine and it is not yours.         Do

25      you understand that?
     Case 1:17-cr-00232-EGS Document 16 Filed 01/16/18 Page 28 of 34

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 1                THE DEFENDANT:    Yes.

 2                THE COURT:    Do you also understand that the Court is

 3      not required to reduce your sentence even if the government

 4      files that motion?     That is my decision to make, not theirs.

 5      Do you understand that?

 6                THE DEFENDANT:    I do.

 7                THE COURT:    Finally, to repeat again, do you

 8      understand that under the law, I must consider and take into

 9      account the sentencing guidelines, along with all the other

10      relevant factors, but that the guidelines are advisory,

11      they're not binding on me, and ultimately the appropriate

12      sentence will be determined in my discretion, considering the

13      sentencing guidelines and all of the other relevant factors

14      under the statute?

15                Do you understand that?

16                THE DEFENDANT:    I do, Your Honor.

17                THE COURT:    Mr. Flynn, has anyone, including your

18      attorney, the federal agents, the prosecutor, or any other

19      person in which you have come in contact promised or

20      suggested to you that merely because you are pleading guilty

21      I will give you a lighter sentence?

22                THE DEFENDANT:    No.

23                THE COURT:    Has anyone made any promises to you as to

24      what sentence I will impose in this case if I accept your

25      guilty plea?
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 1                THE DEFENDANT:    They have not.

 2                THE COURT:    Do you understand that at this time I do

 3      not know what sentence I will impose in your case since I

 4      have not yet heard from the lawyers or from the probation

 5      office?

 6                THE DEFENDANT:    Yes.

 7                THE COURT:    Has anyone made any promises to you in

 8      connection with your guilty plea other than those that are

 9      contained in the written plea agreement?

10                THE DEFENDANT:    They have not.

11                THE COURT:    Has anyone forced, threatened, or coerced

12      you in any way into entering this plea of guilty?

13                THE DEFENDANT:    No.

14                THE COURT:    Mr. Flynn, has there been anything about

15      your plea agreement or these proceedings that you do not

16      understand or that you wish to consult with your attorneys

17      about?

18                THE DEFENDANT:    There isn't.

19                THE COURT:    Is there anything that you want to ask me

20      before you make a decision whether or not you want to plead

21      guilty or go to trial?

22                THE DEFENDANT:    No, Your Honor.

23                THE COURT:    Counsel for both sides, is there anything

24      else we need to cover before taking the plea?

25                MR. KELNER:    No, Your Honor.
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 1                MR. ANTHONY:    No, Your Honor.

 2                MR. VAN GRACK:    No, Your Honor.

 3                THE COURT:    Mr. Flynn, are you now ready to make a

 4      decision about whether you wish to enter a plea of guilty or

 5      whether you, instead, wish to go to trial?

 6                THE DEFENDANT:    I am.

 7                THE COURT:    Mr. Flynn, how do you plead to the charge

 8      in Count One of the Information, making false statements, in

 9      violation of 18 U.S.C. § 1001; do you plead guilty or not

10      guilty?

11                THE DEFENDANT:    Guilty, Your Honor.

12                THE COURT:    Are you entering this plea of guilty

13      voluntarily and of your own free will?

14                THE DEFENDANT:    I am.

15                THE COURT:    Are you entering this plea of guilty

16      because you are guilty and for no other reason?

17                THE DEFENDANT:    Yes, Your Honor.

18                THE COURT:    Defense counsel, do you know of any

19      reason why the defendant should not plead guilty to the

20      charge?

21                MR. KELNER:    No, Your Honor.

22                MR. VAN GRACK:    No, Your Honor.

23                THE COURT:    It is the finding of this Court in the

24      case of United States v. Michael T. Flynn, Criminal Number

25      17-232, that the defendant, Michael Flynn, is fully competent
     Case 1:17-cr-00232-EGS Document 16 Filed 01/16/18 Page 31 of 34

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 1      and capable of making a decision today and entering an

 2      informed plea; that he understands the nature of the charges

 3      against him and the consequences of what he is doing; that he

 4      is acting voluntarily and of his own free will; and that

 5      there is an adequate factual basis for his plea.          Therefore,

 6      the plea of guilty is accepted, and I find you guilty as

 7      charged in Count One of the Information.

 8                Mr. Flynn, as I explained to you a little bit

 9      earlier, there is going to be a presentence investigation

10      conducted and a report prepared by the probation office to

11      assist me in the sentencing.        You are going to be interviewed

12      by a probation officer, and you are required to give truthful

13      information for that report.        Your attorney may be present if

14      you wish -- and that is generally a good idea -- and then you

15      and your attorney will be permitted to read the presentence

16      report, a draft of it, before the sentencing hearing, and

17      make any objections to any errors that you believe are in

18      that report.    And then at the sentencing hearing, both you

19      and your attorney will be given an opportunity to speak on

20      your behalf.

21                Do you understand that process?

22                THE DEFENDANT:    I do.

23                THE COURT:    I assume that we're deferring sentencing

24      for the time being?

25                MR. VAN GRACK:    Yes, Your Honor.
     Case 1:17-cr-00232-EGS Document 16 Filed 01/16/18 Page 32 of 34

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 1                THE COURT:    Okay.   How do you want to proceed as far

 2      as setting a status report --

 3                MR. VAN GRACK:    Yes, Your Honor, we've spoken with

 4      defense counsel, and we would like to schedule a status date

 5      in three months.

 6                THE COURT:    Okay.   And defer the presentence

 7      investigation?

 8                MR. VAN GRACK:    Yes, Your Honor.

 9                THE COURT:    Okay.

10                THE DEPUTY CLERK:     Status date is February 1, 2018.

11                THE COURT:    10 a.m.

12                A status report or status hearing?

13                Mr. VAN GRACK:    A status report.

14                THE COURT:    Okay.   Status report, February 1, 2018.

15                I assume the government is not requesting that we

16      hold him prior to that?

17                MR. VAN GRACK:    No, Your Honor.

18                THE COURT:    Okay.   I will agree with that.

19                I'm going to have you report weekly by phone, and to

20      live at the address that is in the pretrial materials.         Is

21      that correct?

22                MR. ANTHONY:    Yes, that's the address, Your Honor.

23                THE COURT:    I have signed the booking documents.

24                The one last thing I need to advise you, Mr. Flynn,

25      is when we do finally set a sentencing date, you are required
     Case 1:17-cr-00232-EGS Document 16 Filed 01/16/18 Page 33 of 34

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 1      to appear for that sentencing, and the failure to appear as

 2      required is a separate criminal offense for which you could

 3      be sentenced to imprisonment.        All the conditions that you

 4      will be released upon now apply, and the penalties for

 5      violating those conditions can be severe, and that committing

 6      a crime while on release can subject you to more severe

 7      punishment than would otherwise be the case if you were not

 8      under the release conditions.

 9                Do you understand that?

10                THE DEFENDANT:    Yes.

11                THE COURT:    Counsel, is there anything else we need

12      to cover?

13                MR. KELNER:    No, Your Honor.

14                Government?

15                MR. VAN GRACK:    No, Your Honor.

16                THE COURT:    Thank you.    You're excused.

17                     (Proceedings adjourned at 11:16 a.m.)

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     Case 1:17-cr-00232-EGS Document 16 Filed 01/16/18 Page 34 of 34

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 1                   CERTIFICATE OF OFFICIAL COURT REPORTER

 2

 3                     I, Patricia A. Kaneshiro-Miller, certify that the

 4      foregoing is a correct transcript from the record of

 5      proceedings in the above-entitled matter.

 6

 7

 8      /s/ Patricia A. Kaneshiro-Miller                 December 1, 2017
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 9      PATRICIA A. KANESHIRO-MILLER                          DATE

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